UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                                :
STATE OF NEW YORK, et al.,                                                      :
                                                                                :
                                    Plaintiffs,                                 :
                                                                                :    18-CV-2921 (JMF)
                  -v-                                                           :
                                                                                :
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :
                                                                                :
                                    Defendants.                                 :
                                                                                :
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                                                                                :
NEW YORK IMMIGRATION COALITION, et al.,                                         :
                                                                                :
                                    Plaintiffs,                                 :
                                                                                :    18-CV-5025 (JMF)
                  -v-                                                           :
                                                                                :
UNITED STATES DEPARTMENT OF COMMERCE, et al.,                                   :          ORDER
                                                                                :
                                    Defendants.                                 :
                                                                                :
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JESSE M. FURMAN, United States District Judge:

        On January 2, 2019, the U.S. Senate confirmed Steven Dillingham as Director of the
Census, replacing Ron S. Jarmin, who had previously served as Acting Director and — in that
official capacity — was named as a defendant in this action. See 164 Cong. Rec. S8054 (Jan. 2,
2019). Rule 25(d) of the Federal Rules of Civil Procedure provides that “when a public officer
who is a party in an official capacity . . . ceases to hold office while the action is pending[,] [t]he
officer’s successor is automatically substituted as a party.” Fed. R. Civ. P. 25(d).

        It is therefore ORDERED that Steven Dillingham is substituted as a defendant in his
official capacity as Director of the Census, in place of Ron S. Jarmin. The Clerk of Court is
directed to modify the docket accordingly.

        SO ORDERED.

Dated: January 8, 2019                                     __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                 United States District Judge
